                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

                                                 )
In re: John Thomas Lacik                         )          Case No.: 17-81630-CRJ-11
       SSN: xxx-xx-9376                          )
                                                 )
        Lisa Elaine Lacik                        )
        SSN: xxx-xx-1278                         )
                                                 )
               Debtors.                          )          CHAPTER 11


                           SECOND AMENDMENT TO DEBTORS’
                          AMENDED PLAN OF REORGANIZATION

       COME NOW John and Lisa Lacik, Chapter 11 Debtors, having reached a settlement with
secured creditor Regions Bank, and file the following amendment, to-wit:

        1.     The Debtors hereby amend Class 2 – Secured Claim (Regions Bank HELOC)
of the Debtors’ Plan of Reorganization to read as follows:

               a.     Classification:

        Class 2 consists of the secured claim of Regions Bank HELOC on the Debtors’ home.

               b.     Treatment:

        Class 2 is impaired and, accordingly, the member of Class 2 is entitled to vote on the
Plan.

       This creditor’s claim will be refinanced and re-amortized on a five-year term note at four
and a half percent interest (4.50%), with a standard amortization schedule lasting twenty years.
The remaining balance of the loan will be due and payable in full at the end of the five-year term.
Payments under the terms of this Plan of Reorganization shall commence ninety (90) days after
the Court enters an order confirming the Debtors’ Plan. (Estimated payment - $4,048.00 per
month.)

       If any payment is missed, Regions Bank or its counsel may send out a twenty-day notice
of default letter to the Debtors and Debtors’ counsel, and if the arrears are not cured within
twenty days of the date that said letter is place in the U.S. Mail, then the automatic stay of 11
U.S.C. § 362 shall lift as to Regions Bank automatically and without further order of the Court.

       Each holder of an allowed claim in this Class will retain all remedies, including remedies
upon default, available under its original loan documents until the Debtors complete their
required payments to that creditor under the terms of the confirmed Plan.




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      This amendment applies only to the subsections referenced above and is not intended to
modify or eliminate any other language in the Debtors’ Plan.

       Respectfully submitted this 10th day April, 2018.


                                            /s/ John Lacik
                                            John Lacik, Chapter 11 Debtor


                                            /s/ Lisa Lacik
                                            Lisa Lacik, Chapter 11 Debtor



Of Counsel:

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                               CERTIFICATE OF SERVICE

       This is to certify that I have this day served the foregoing document upon all addressees
on the Clerk’s Mailing Matrix in this case and Richard M. Blythe, Office of the Bankruptcy
Administrator, P.O. Box 3045, Decatur, AL 35062 by electronic service through the Court’s
CM/ECF system and/or by placing a copy of the same in the U. S. Mail, postage prepaid this 10th
day of April, 2018.


                                            /s/ Tazewell T. Shepard
                                            Tazewell T. Shepard




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